     Case 2:17-cv-06104-MWF-JC       Document 1   Filed 08/17/17   Page 1 of 16 Page ID #:1



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   Fernandez, Alex Yong, and all others
11 similarly situated

12
                       UNITED STATES DISTRICT COURT
13
                      CENTRAL DISTRICT OF CALIFORNIA
14
   JOSE FERNANDEZ , an individual,            Case No.
15
   ALEX YONG, an individual, on               CLASS ACTION COMPLAINT FOR:
16 behalf of themselves and all others        1. FAILURE TO PAY REST
   similarly situated,                           BREAKS;
17                                            2. FAILURE TO PAY
18                             Plaintiff,        MINIMUM WAGES
                                              3. FAILURE TO PAY
19
                                                 OVERTIME WAGES;
                          v.                  4. FAILURE TO PAY ALL
20
                                                 WAGES UPON
                                                 SEPARATION; and
      BANK OF AMERICA, N.A.; and              5. VIOLATION OF
21                                               CALIFORNIA’S UNFAIR
      DOES 1 through 10, inclusive,
22
                                                 COMPETITION ACT, BUS.
                         Defendant.              & PROF. CODE §17200, et
23
                                                 seq.

24
                                                    DEMAND FOR JURY TRIAL

25

26

27

28

                                     CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC         Document 1       Filed 08/17/17   Page 2 of 16 Page ID #:2


1              Plaintiffs Jose Fernandez and Alex Yong (“Plaintiffs”) are informed and
2     believe, and on that basis allege, as follows:
3                                   NATURE OF THE ACTION
4              1.     This is a California state-wide class action for wage and labor
5     violations arising out of, among other things, Defendant Bank of America, N.A.’s
6     (“Defendant” or “BofA”) failure to compensate their mortgage and/or loan
7     origination sales force in compliance with California law. As more fully described
8     herein, Defendant instituted an unlawful pay plan whereby it advanced a base pay
9     against commission, but clawed the advance back from the commissions.
10    Defendant failed and continues to fail to separately compensate Plaintiffs or class
11    members for rest breaks, and fails to pay minimum and overtime wages as
12    required, and engages in other Labor Code violations.
13             2.     Plaintiffs seek among other things, all wages, restitutionary
14    disgorgement, and statutory penalties. Plaintiffs seek to represent the following
15    Class:
16                  All current or former California residents who worked for
17                  Defendant selling or originating mortgages at any time
18                  beginning four (4) years prior to the filing of the Complaint
19                  through the date notice is mailed to the Class.
20                                            PARTIES
21             3.     Plaintiff Jose Fernandez was, at all relevant times, a resident and
22    citizen of the State of California. Plaintiff Fernandez was employed by Defendant
23    as a mortgage broker or loan originator in the County of Los Angeles, State of
24    California, during the Class period as alleged herein.
25             4.     Plaintiff Alex Yong was, at all relevant times, a resident and citizen of
26    the State of California. Plaintiff Yong was employed by Defendant as a mortgage
27    broker or loan originator in the County of Los Angeles, State of California, during
28    the Class period as alleged herein.
                                                    2
                                       CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC      Document 1       Filed 08/17/17   Page 3 of 16 Page ID #:3


1           5.     Defendant Bank of America, N.A. is a bank, that is authorized to
2     conduct and is actually conducting business in the State of California, and is a
3     citizen of North Carolina.
4           6.     Plaintiffs are currently ignorant of the true names and capacities,
5     whether individual, corporate, associate, or otherwise, of the Defendants sued
6     herein under the fictitious names Does 1 through 10, inclusive, and therefore sue
7     such Defendants by such fictitious names. Plaintiff will seek leave to amend this
8     complaint to allege the true names and capacities of said fictitiously named
9     Defendants when their true names and capacities have been ascertained. Plaintiff
10    is informed and believes and thereon alleges that each of the fictitiously named
11    Defendants is legally responsible in some manner for the events and occurrences
12    alleged herein, and for the damages suffered by the Class.
13          7.     Plaintiffs are informed and believe and thereon allege that all
14    Defendants, including the fictitious Doe Defendants, were at all relevant times
15    acting as actual agents, conspirators, ostensible agents, alter egos, partners and/or
16    joint venturers and/or employees of all other Defendants, and that all acts alleged
17    herein occurred within the course and scope of said agency, employment,
18    partnership, and joint venture, conspiracy or enterprise, and with the express and/or
19    implied permission, knowledge, consent authorization and ratification of their co-
20    Defendant; however, each of these allegations are deemed “alternative” theories
21    whenever not doing so would result in a contradiction with other allegations.
22                              JURISDICTION AND VENUE
23          8.     This Court has jurisdiction over the entire action by virtue of the fact
24    that this is a civil action wherein the matter in controversy, exclusive of interest
25    and costs, exceeds the jurisdictional minimum of the Court. The acts and
26    omissions complained of in this action took place in part in the State of California.
27    At least one Defendant is a citizen of a state outside of California, and federal
28    diversity jurisdiction exists and/or jurisdiction under the Class Action Fairness Act
                                                 3
                                    CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC      Document 1       Filed 08/17/17   Page 4 of 16 Page ID #:4


1     (“CAFA”). The class amount at issue exceeds $5,000,000 and the jurisdictional
2     minimum of this Court under CAFA. Venue is proper because this is a class
3     action, the acts and/or omissions complained of took place, in whole or in part
4     within the venue of this Court.
5                               FACTUAL ALLEGATIONS
6           9.     Plaintiffs and the Class worked as mortgage brokers or loan
7     originators for Defendant selling mortgages. Plaintiffs were employed as a
8     mortgage broker and/or loan originator at Defendant’s Valencia branch. Plaintiff
9     Fernandez was employed by Defendant from approximately September 2013
10    through October 2014, and Plaintiff Yong was employed by defendant from
11    approximately October 2013 through September 2014.
12          10.    Defendant paid Plaintiffs and Class members based on a sales
13    commission. Defendant paid Plaintiffs and the Class members advances on
14    commissions at a base rate, but then clawed back the advances from the
15    commissions.
16          11.    At all times during the liability period, Defendant failed to separately
17    pay Plaintiffs and Class members for rest breaks.
18          12.    Plaintiffs and class members were only paid on a commission basis
19    for selling or originating mortgages and loans. Plaintiffs and class members were
20    not compensated for all hours worked, including but not limited to, time spent for
21    mandatory meetings, loan processing, training and coaching sessions, customer
22    surveys, and attending events. The failure to pay Plaintiffs for all hours worked
23    violates California’s minimum wage requirements.
24          13.    When Class members worked shifts over eight (8) hours per day, or
25    over forty (40) hours per week, Defendant did not pay them overtime in
26    accordance with applicable law. Plaintiffs regularly worked over 50 hours per
27    week. During the first weeks in September 2014, Plaintiffs are informed and
28    believe, and on that basis allege, they worked over 50 hours per week. Under its
                                                 4
                                    CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC       Document 1       Filed 08/17/17   Page 5 of 16 Page ID #:5


1     commission-based plan, Defendant failed to pay Plaintiffs and class members any
2     overtime. Defendant failed to pay Plaintiffs and class members overtime at their
3     regular rate of pay, violating California overtime laws.
4           14.     Defendant’s conduct, as alleged herein, has caused Plaintiffs and
5     Class members damages including, but not limited to, loss of wages and
6     compensation. Defendant is liable to Plaintiffs and the Class for failing to pay
7     overtime wages, failing to separately pay class members for rest breaks, failure to
8     pay all wages owed upon termination, and unfair competition.
9           15.     Plaintiffs are members of and seek to be the representative for the
10    Class of similarly situated employees who all have been exposed to, have suffered,
11    and/or were permitted to work under, Defendant’s unlawful employment practices
12    as alleged herein.
13                  CLASS DEFINITIONS AND CLASS ALLEGATIONS
14          16.     Plaintiffs bring this action on behalf of themselves, and on behalf of
15    all others similarly situated, and as a member of the Class defined as follows:
16                All current or former California residents who worked for
                  Defendant selling or originating mortgages at any time
17                beginning four (4) years prior to the filing of the Complaint
                  through the date notice is mailed to the Class.
18

19          17.     Plaintiffs reserve the right to amend or otherwise alter the class
20    definition presented to the Court at the appropriate time, or to propose or eliminate
21    sub-classes, in response to facts learned through discovery, legal arguments
22    advanced by Defendant or otherwise.
23          18.     This action has been brought and may be properly maintained as a
24    class action pursuant to Federal Rules of Civil Procedure, Rule 23 and other
25    applicable law, as follows:
26          19.     Numerosity of the Class: Members of the Class are so numerous
27    that their individual joinder is impracticable. The precise number of Class
28    members and their addresses are known to Plaintiffs or will be known to Plaintiffs
                                                  5
                                     CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC       Document 1        Filed 08/17/17   Page 6 of 16 Page ID #:6


1     through discovery. Class members may be notified of the pendency of this action
2     by mail, electronic mail, the Internet, or published notice.
3           20.     Existence of Predominance of Common Questions of Fact and
4     Law: Common questions of law and fact exist as to all members of the Class.
5     These questions predominate over any questions affecting only individual Class
6     members. These common legal and factual questions include:
7            a. Whether Defendant engaged in a pattern or practice of failing to pay
8                 Plaintiffs and the members of the Class overtime wage for each hour in
9                 excess of eight (8) per day, or forty (40) per week, worked;
10           b. Whether Defendant engaged in a pattern or practice of failing to pay
11                Plaintiffs and the members of the Class minimum wage for time spent on
12                work other than selling or originating mortgages;
13           c. Whether Defendant violated IWC Wage Order No. 4-2001 and Labor
14                Code § 226.7 by engaging in a pattern or practice of failing to properly
15                compensate Plaintiff and the members of the Class for rest periods by
16                paying based on a commission, without separately paying Plaintiff and
17                Class members for rest breaks;
18           d. Whether Defendant engaged in unfair practice and violated California
19                Business and Professions Code § 17200 by failing to compensate
20                Plaintiffs and the members of the Class their statutory minimum and
21                overtime wages and rest breaks;
22           e. Whether Defendant violated Labor Code §203 by failing to pay all
23                wages due upon separation.
24           f. The nature and extent of class-wide injury and measure of damages for
25                the injury.
26          21.     Typicality: Plaintiffs’ claims are typical of the claims of the members
27    of the Class they represent because Plaintiffs were exposed and subjected to the
28    same unlawful business practices employed by Defendant during the liability
                                                   6
                                     CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC       Document 1       Filed 08/17/17   Page 7 of 16 Page ID #:7


1     period. Plaintiffs and the members of the class they represent sustained the same
2     types of damages and losses.
3           22.     Adequacy: Plaintiffs are adequate representatives of the Class they
4     seek to represent because their interests do not conflict with the interests of the
5     members of the Class Plaintiffs seek to represent. Plaintiffs have retained counsel
6     competent and experienced in complex class action litigation and Plaintiffs intend
7     to prosecute this action vigorously. The interests of members of each Class will be
8     fairly and adequately protected by Plaintiffs and their counsel.
9           23.     Superiority and Substantial Benefit: The class action is superior to
10    other available means for the fair and efficient adjudication of Plaintiffs and the
11    Class members’ claims. The violations of law were committed by Defendant in a
12    uniform manner and class members were exposed to the same unlawful practices.
13    The damages suffered by each individual Class member may be limited. Damages
14    of such magnitude are small given the burden and expense of individual
15    prosecution of the complex and extensive litigation necessitated by Defendant’s
16    conduct. Further, it would be virtually impossible for the Class members to redress
17    the wrongs done to them on an individual basis. Even if members of the Class
18    themselves could afford such individual litigation, the court system could not.
19    Individualized litigation increases the delay and expense to all parties and the court
20    system, due to the complex legal and factual issues of the case. By contrast, the
21    class action device presents far fewer management difficulties, and provides the
22    benefits of single adjudication, economy of scale, and comprehensive supervision
23    by a single court.
24          24.     The Class should also be certified because:
25                a. The prosecution of separate actions by individual members of the
26    Class would create a risk of inconsistent or varying adjudications with respect to
27    individual Class members which would establish incompatible standards of
28    conduct for Defendant;
                                                  7
                                     CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC       Document 1       Filed 08/17/17   Page 8 of 16 Page ID #:8


1                 b. The prosecution of separate actions by individual members of the
2     Class would create a risk of adjudication with respect to them, which would, as a
3     practical matter, be dispositive of the interests of the other Class members not
4     parties to the adjudications, or substantially impair or impede their ability to
5     protect their interests; and
6                 c. Defendant has acted or refused to act on grounds generally applicable
7     to the Class, and/or the general public, thereby making appropriate final and
8     injunctive relief with respect to the Classes as a whole.
9
                               FIRST CAUSE OF ACTION
10                 UNLAWFUL FAILURE TO PAY REST PERIODS
11          (For Violation of Labor Code §§ 226.7, 512, and 1194; IWC Order No. 4-
                                        2001, §12)
12
            25.     Plaintiffs, on behalf of themselves and the Class, re-allege and
13
       incorporate all preceding paragraphs as if fully set forth herein.
14
            26.     California Labor Code § 226.7(a) provides, “No employer shall
15
       require any employee to work during any meal or rest period mandated by an
16
       applicable order of the Industrial Welfare Commission.”
17
            27.     IWC Order No.4-2001(12)(A) provides, in relevant part: “Every
18
       employer shall authorize and permit all employees to take rest periods, which
19
       insofar as practicable shall be in the middle of each work period. The authorized
20
       rest period time shall be based on the total hours worked daily at the rate of ten
21
       (10) minutes net rest time per four hours or major fraction thereof. However, a
22
       rest period need not be authorized for employees whose total daily work times is
23
       less than three and one-half hours. Authorized rest period time shall be counted as
24
       hours worked for which there shall be no deduction from wages.”
25
            28.     IWC Order No. 4-2001 (12)(B) further provides, “If an employer fails
26
       to provide an employee with a rest period in accordance with the applicable
27
       provisions of this order, the employer shall pay the employee one (1) hour of pay
28

                                                  8
                                     CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC      Document 1       Filed 08/17/17   Page 9 of 16 Page ID #:9


1      at the employee’s regular rate of compensation for each workday that the rest
2      period is not provided.”
3           29.    As alleged herein, Defendant paid Plaintiff and class members based
4      on a commission, and did not separately compensate them for rest breaks.
5           30.    By its actions, Defendant violated § 12 of IWC Wage Order No. 4-
6      2001 and California Labor Code § 226.7, and are liable to Plaintiffs and the Class.
7           31.    Defendant’s unlawful conduct alleged herein occurred in the course of
8      employment of Plaintiffs and all others similarly situated and such conduct has
9      continued through the filing of this complaint.
10          32.    As a direct and proximate result of Defendant’s unlawful action,
11     Plaintiffs and the Class have been deprived of timely rest periods and/or were not
12     paid for rest periods taking, and are entitled to recovery under Labor Code §
13     226.7(b) in the amount of one additional hour of pay at the employee’s regular
14     rate of compensation for each work period during each day in which Defendant
15     failed to provide employees with timely and/or paid rest periods.
16                              SECOND CAUSE OF ACTION
17                          FAILURE TO PAY MINIMUM WAGES
            (For Violation of Labor Code §§ 510, 1194, 1194.2, 1197; IWC Order No.
18                                     4-2001, §4)
19          33.    Plaintiffs, on behalf of themselves and the Class, re-allege and
20     incorporate all preceding paragraphs as if fully set forth herein.
21          34.    Labor Code §1197 provides: “The minimum wage for employees
22     fixed by the commission is the minimum wage to be paid to employees, and the
23     payment of a less wage than the minimum so fixed is unlawful.”
24          35.    Labor Code § 1194, subdivision (a) provides: “Notwithstanding any
25     agreement to work for a lesser wage, an employee receiving less than the legal
26     minimum wage or the legal overtime compensation applicable to the employee is
27     entitled to recover in a civil action the unpaid balance of the full amount of this
28     minimum wage or overtime compensation, including interest thereon, reasonable
                                                 9
                                    CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC       Document 1 Filed 08/17/17       Page 10 of 16 Page ID
                                            #:10

1     attorney’s fees, and costs of suit.”
2          36.    Labor Code § 1194.2 provides in relevant part: “In any action under
3     Section 1193.6 or Section 1194 to recover wages because of the payment of a
4     wage less than the minimum wage fixed by an order of the commission, an
5     employee shall be entitled to recover liquidated damages in an amount equal to
6     the wages unlawfully unpaid and interest thereon.”
7          37.    Pursuant to IWC Wage Order No. 4-2001, at all times material hereto,
8     “hours worked” includes “the time during which an employee is subject to the
9     control of an employer, and includes all the time the employee is suffered or
10    permitted to work, where or not required to do so.”
11         38.    Plaintiffs and Class members were required to work time other than
12    selling or originating mortgages, for which they were not compensated, in
13    violation of California’s minimum wage laws. This includes, but is not limited to,
14    time spent for mandatory meetings, loan processing, training and coaching
15    sessions, customer surveys, and attending events. Plaintiffs’ commission-based
16    pay failed to compensate Plaintiffs and Class members at the applicable minimum
17    wage for all the hours worked.
18         39.    At all times relevant during the liability period, under the provisions
19    of Wage Order No. 9-2001, Plaintiffs and each Class member should have
20    received not less than the minimum wage in a sum according to proof for the time
21    worked, but not compensated.
22         40.    For all hours that Plaintiffs and the Class members worked, they are
23    entitled to not less than the California minimum wage and, pursuant to Labor
24    Code § 1194.2(a) liquidated damages in an amount equal to the unpaid minimum
25    wages and interest thereon. Pursuant to Labor Code § 1194, Plaintiffs and the
26    Class members are also entitled to their attorneys’ fees, costs and interest
27    according to proof.
28         41.    At all times relevant during the liability period, Defendant willfully
                                               10
                                    CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC       Document 1 Filed 08/17/17       Page 11 of 16 Page ID
                                            #:11

1     failed and refused, and continues to willfully fail and refuse, to pay Plaintiffs and
2     Class members the amounts owed.
3            42.   Defendant’s unlawful conduct alleged herein occurred in the course of
4     employment of Plaintiffs and all other similarly situated employees of Defendant,
5     and Defendant has done so continuously throughout the filing of this complaint.
6            43.   As a direct and proximate result of Defendant’s violation of Labor
7     Code §§ 510 and 1197, Plaintiff and other Class members have suffered
8     irreparable harm and money damages entitling them to damages, injunctive relief
9     or restitution. Plaintiff, on behalf of themselves and on behalf of the Class, seeks
10    damages and all other relief allowable including all wages due, attorneys’ fees,
11    liquidated damages, prejudgment interest, and as to those employees no longer
12    employed by Defendant, waiting time penalties pursuant to Labor Code § 200 et
13    seq.
14           44.   Plaintiff and the Class members are entitled to back pay, pre-judgment
15    interest, liquidated damages, statutory penalties, attorneys’ fees and costs, and for
16    Plaintiff and the Class of members no longer employed, waiting time penalties
17    pursuant to Labor Code § 1194.
18                           THIRD CAUSE OF ACTION
19                  FAILURE TO PAY ALL OVERTIME WAGES
       (For Violation of Labor Code§§ 510 and 1194; IWC Order No. 4-2001, § 3 )
20
             45.   Plaintiffs, on behalf of themselves and the Class, re-allege and
21
      incorporate all preceding paragraphs as if fully set forth herein.
22
             46.   California Labor Code §510 provides that, “Any work in excess of
23
      eight hours in one workday and any work in excess of 40 hours in any one
24
      workweek and the first eight hours worked on the seventh day of work in any one
25
      workweek shall be compensated at the rate of no less than one and one-half times
26
      the regular rate of pay for an employee. Any work in excess of 12 hours in one
27
      day shall be compensated at the rate of no less than twice the regular rate of pay
28
      for an employee….”
                                               11
                                   CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC       Document 1 Filed 08/17/17       Page 12 of 16 Page ID
                                            #:12

1          47.    Section 3(a)(1) of Wage Order No. 4-2001 also mandates that
2     employers pay one and one-half times the employees’ regular rate of pay for
3     employees who work more than eight (8) hours in a day or forty (40) hours in a
4     week, and two times their regular rate of pay for any work in excess of twelve
5     (12) hours in one day.
6          48.    At all times relevant hereto, Plaintiff and members of the Class were
7     non-exempt for purposes of the overtime requirements set forth in the Labor Code
8     and Wage Order No. 4-2001. During the relevant period, Plaintiff and other
9     members of the Class consistently worked over 50 hours per week. Defendant
10    failed to pay Plaintiffs and the Class overtime as required by California Law
11    because under its commission plan, no overtime is paid. Alternatively, Defendant
12    failed to pay Plaintiff and class members overtime at their regular rate of
13    compensation.
14         49.    Plaintiff and the Class seek to recover unpaid overtime and double-
15    time compensation, pursuant to this cause of action, in an amount to be
16    determined at trial.
17                        FOURTH CAUSE OF ACTION
18                FAILURE TO PAY ALL WAGES DUE AT SEPARATION
                           (For Violation of Labor Code § 203)
19
           50.    Plaintiffs, on behalf of themselves and the Class, re-allege and
20
      incorporate all preceding paragraphs as if fully set forth herein.
21
           51.    California Labor Code §§ 201 and 202 requires Defendant to pay all
22
      compensation due and owing to former mortgage salespersons at or around the
23
      time employment is terminated. Section 203 of the California Labor Code
24
      provides that if an employer willfully fails to pay compensation promptly upon
25
      discharge or resignation, as required by §§ 201 and 202, then the employer is
26
      liable for penalties in the form of continued compensation up to thirty (30) work
27
      days.
28
           52.    At all times relevant during the liability period, Plaintiff and the other
                                               12
                                   CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC       Document 1 Filed 08/17/17       Page 13 of 16 Page ID
                                            #:13

1     members of the Class were employees of Defendant covered by Labor Code §
2     203.
3            53.   Plaintiff and the Class were not paid for their work performed, as
4     alleged herein. Defendant willfully failed to pay Plaintiff and other members of
5     the Class who are no longer employed by Defendant for their uncompensated
6     minimum and overtime wages, and for rest breaks upon their termination or
7     separation from employment with Defendant as required by California Labor
8     Code §§ 201 and 202. As a result, Defendant is liable to Plaintiff and other
9     members of the Sub-Class who are no longer employed by Defendant for waiting
10    time penalties amounting to thirty days wages for Plaintiff and each such Class
11    member pursuant to California Labor Code § 203.
12                         FIFTH CAUSE OF ACTION
13           VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION ACT
             54.   Plaintiffs, on behalf of themselves and the Class, re-allege and
14
     incorporate all preceding paragraphs as if fully set forth herein.
15
             55.   Section 17200 of the California Business and Professions Code (the
16
     “UCL”) prohibits any unlawful, unfair, or fraudulent business practices.
17
             56.   Through its actions alleged herein, Defendant has engaged in unfair
18
     competition within the meaning of the UCL. Defendant’s conduct, as alleged
19
     herein, constitutes unlawful, unfair, and/or fraudulent business practices under the
20
     UCL.
21
             57.   Defendant’s unlawful conduct under the UCL includes, but is not
22
      limited to, violating the statutes and regulations alleged herein; failure to pay
23
      Class members wages and compensation they earned through labor provided; and
24
      employees fundamental right to be paid wages in a timely fashion for their work;
25
      and failing to otherwise compensate Class members, as alleged herein.
26
      Defendant’s fraudulent conduct includes, but is not limited to, issuing wage
27
      statements containing false and/or misleading information about the time the Class
28

                                                13
                                    CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC        Document 1 Filed 08/17/17      Page 14 of 16 Page ID
                                             #:14

1     members worked and the amount of wages or compensation due. Defendant’s
2     unfair conduct is instituting a pay plan which failed to pay minimum or overtime
3     wages, or compensate for rest breaks.
4          58.      Plaintiffs have standing to assert this claim because they have suffered
5    injury in fact and has lost money as a result of Defendant’s conduct.
6          59.      Plaintiffs and the Class seek restitutionary disgorgement from
7    Defendant in connection with its unlawful, unfair, and/or fraudulent conduct
8    alleged herein.
9                                              PRAYER
10         WHEREFORE, Plaintiffs, on behalf of themselves and all others similarly
11   situated and also on behalf of the general public, pray for judgment against
12   Defendant as follows:
13                               FIRST CAUSE OF ACTION
14               UNLAWFUL FAILURE TO PROVIDE REST PERIODS
15         A. For one hour of wages due to Plaintiff and each Class member for rest
16               breaks for which they were not separately compensated;
17         B. For all wages and penalties under California Labor Code §226.7(c);
18                             SECOND CAUSE OF ACTION
19                       FAILURE TO PAY MINIMUM WAGES
20         A. All unpaid minimum wages, statutory penalties, and liquidated
21               damages due to Plaintiff and each Class member on their minimum
22               wage claim;
23         B. General, special and consequential damages, to the extent allowed by
24               law.
25                              THIRD CAUSE OF ACTION
26                      FAILURE TO PAY OVERTIME WAGES
27         A. All unpaid overtime wages, statutory penalties, and liquidated
28               damages due to Plaintiff and each Class member on their overtime
                                                14
                                    CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC      Document 1 Filed 08/17/17      Page 15 of 16 Page ID
                                           #:15

1             wage claim;
2          B. General, special and consequential damages, to the extent allowed by
3             law.
4                            FOURTH CAUSE OF ACTION
5           FAILURE TO PAY ALL WAGES DUE AT SEPARATION
6          A. For continued compensation up thirty (30) work days following
7             termination of employment for Plaintiff Class members no longer
8             employed by Defendant;
9          B. For all wages and penalties under California Labor Code §203;
10                      FIFTH CAUSE OF ACTION
11        VIOLATION OF CALIFORNIA’S UNFAIR COMPETITION ACT
           A. For restitutionary disgorgement of including, but not limited to, all
12
              minimum and overtime wages and/or premium wages and/or other
13
              benefits or wages Defendant failed to Plaintiffs and the Class pursuant
14
              to the UCL.
15
                            FOR ALL CAUSES OF ACTION
16
           A. An order that this action may proceed and be maintained as a class
17
              action;
18
           B. Prejudgment interest at the maximum legal rate;
19
           C. Reasonable attorneys’ fees;
20
           D. Accounting of Defendant’s records for the liability period;
21
           E. Costs of suit; and
22
           F. Such other relief as the Court may deem just and proper.
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24
     DATED: August 17, 2017                   HAFFNER LAW PC
25

26                                   By:     /s/ Joshua H. Haffner
                                             Joshua H. Haffner
27
                                             Attorneys for Plaintiff and others
28                                           Similarly Situated
                                              15
                                   CLASS ACTION COMPLAINT
     Case 2:17-cv-06104-MWF-JC     Document 1 Filed 08/17/17       Page 16 of 16 Page ID
                                          #:16

1
                              DEMAND FOR JURY TRIAL
2
           Plaintiff demands a trial by jury for herself and the Class members on all
3
     claims so triable.
4

5    DATED: August 17, 2017                  HAFFNER LAW PC
6

7

8
                                     By:     /s/ Joshua H. Haffner
9                                            Joshua H. Haffner
                                             Attorneys for Plaintiff and others
10
                                             Similarly situated
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                                  CLASS ACTION COMPLAINT
